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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 )     Chapter 11
                                                       )
ENERGY FUTURE HOLDINGS CORP., et al.,1                 )     Case No. 14-10979 (CSS)
                                                       )
                       Debtors.                        )     (Jointly Administered)
                                                       )     Hearing Date: January 13, 2015 at 9:30 a.m.
                                                       )     Objection Deadline: December 31, 2014 at 4:00 p.m..




APPLICATION OF ENERGY FUTURE COMPETITIVE HOLDINGS COMPANY LLC
     AND TEXAS COMPETITIVE ELECTRIC HOLDINGS COMPANY LLC
       FOR ENTRY OF AN ORDER AUTHORIZING THEM TO RETAIN
AND EMPLOY GREENHILL & CO., LLC AS INDEPENDENT FINANCIAL ADVISOR
          EFFECTIVE NUNC PRO TUNC TO NOVEMBER 17, 2014



         Debtors and debtors-in-possession Energy Future Competitive Holdings Company LLC

(“EFCH”) and Texas Competitive Electric Holdings Company LLC (“TCEH” and together with

EFCH and their debtor subsidiaries, the “TCEH Debtors”) file this application (this

“Application”) for the entry of an order (the “Order”), substantially in the form attached hereto

as Exhibit A, authorizing the TCEH Debtors to employ and retain Greenhill & Co., LLC

(“Greenhill”) as their independent financial advisor effective nunc pro tunc to November 17,

2014, reporting to and taking direction from Hugh E. Sawyer, the disinterested member of the

board of managers of each of EFCH and TCEH (the “TCEH Debtors’ Disinterested

Manager”) in connection with “Conflicts Matters,” as defined in and pursuant to the authority

1
  The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the
large number of debtors in these chapter 11 cases, for which joint administration has been
granted on an interim basis, a complete list of the debtors and the last four digits of their federal
tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
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delegated to the TCEH Debtors’ Disinterested Manager in the respective resolutions of the

ECFH and TCEH Board of Managers dated November 7, 2014 and December 9, 2014 attached

hereto as Exhibit B (collectively, the “Resolutions”), including the determination by the TCEH

Debtors’ Disinterested Manager of whether any matter constitutes a “Conflict Matter”

(collectively, “Conflict Matters”).2 In support of this Application, the TCEH Debtors submit the

Declaration of Bradley A. Robins in Support of Application for Entry of an Order Authorizing

the Retention and Employment of Greenhill & Co., LLC as Independent Financial Advisor to

Energy Future Competitive Holdings Company LLC and Texas Competitive Electric Holdings

Company LLC Effective Nunc Pro Tunc to November 17, 2014 (the “Robins Declaration”),

which is attached hereto as Exhibit C, and which will be supplemented prior to the hearing by a

supplemental declaration (the “Supplemental Robins Declaration”). In further support of this

Application, the TCEH Debtors respectfully state as follows.

                                    Jurisdiction and Venue

       1.      The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C.


2
  Greenhill will be retained pursuant to the engagement letter, effective as of November 17,
2014, between the TCEH Debtors and Greenhill (the “Greenhill Engagement Letter”). A copy
of the Greenhill Engagement Letter is attached hereto as Exhibit 1 to Exhibit A and
incorporated herein by reference. While the Greenhill Engagement Letter does not specifically
reference Conflict Matters, consistent with the authority delegated to the Disinterested Manager
pursuant to the Resolutions, it is implicit in the Engagement Letter and understood by the parties
that Greenhill’s mandate is to perform the Services (as defined herein) with respect to Conflict
Matters, as described herein. Capitalized terms used herein but not otherwise defined have the
meanings ascribed to such terms in the Greenhill Engagement Letter. Capitalized terms used
herein but not otherwise defined have the meanings ascribed to such terms in the Greenhill
Engagement Letter.


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§ 157(b)(2), and the TCEH Debtors confirm their consent pursuant to rule 9013-1(f) of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Bankruptcy Rules”) to the entry of a final order by the Court

in connection with this Application to the extent that it is later determined that the Court, absent

consent of the parties, cannot enter final orders or judgments in connection herewith consistent

with Article III of the United States Constitution.

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory bases for the relief requested in this Application are §§ 327(a) and

328 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014(a) and 2016 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Bankruptcy

Rules 2014-1 and 2016-2.

                                         Relief Requested

       4.      Subject to this Court’s approval, by this Application, the TCEH Debtors seek

entry of the Order authorizing the employment and retention of Greenhill pursuant to §§ 327(a)

and 328 of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Bankruptcy

Rules 2014-1 and 2016-2 as the TCEH Debtors’ independent financial advisor consistent with

the terms and conditions set forth in the Greenhill Engagement Letter, but only in connection

with Conflict Matters, including the determination by the TCEH Debtors’ Disinterested Manager

of whether any matter constitutes a Conflict Matter, effective as of November 17, 2014.       In

carrying out its retention, Greenhill will report to and take direction solely from the TCEH

Debtors’ Disinterested Manager.

                                           Background

       5.      On April 29, 2014 (the “Petition Date”), EFCH, TCEH and certain of their

affiliates (collectively, the “Debtors”) filed voluntary petitions with the Court under chapter 11


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of the Bankruptcy Code. The Debtors are operating their businesses and managing their

properties as debtors in possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code.

The Court has entered an interim order for joint administration of these chapter 11 cases. The

Court has not appointed a trustee.

         6.    The Office of the United States Trustee for the District of Delaware (the “U.S.

Trustee”) formed (a) an official committee of unsecured creditors composed of creditors of

EFCH, TCEH, and TCEH’s direct and indirect subsidiaries, and EFH Corporate Services

Company (collectively, the “TCEH Creditors’ Committee”) in these chapter 11 cases on May

13, 2014 [D.I. 420] and (b) an official committee of unsecured creditors composed of creditors of

Debtors EFH Corp., Energy Future Intermediate Holding Company, LLC, EFIH Finance, Inc.

and EECI, Inc. (collectively, the “EFH Creditors’ Committee” and, together with the TCEH

Creditors’ Committee, the “Committees”) in these chapter 11 cases on October 27, 2014 [D.I.

2570].

         7.    On November 3, 2014, this Court issued its ruling on the Motion of Energy Future

Holdings Corp., et al., for Entry of an Order (A) Approving Bidding Procedures, (B) Scheduling

an Auction and Related Deadlines and Hearings, and (C) Approving the Form and Manner of

Notice Thereof [D.I. 2087], finding, among other things, “[R]egardless of the merits of the

debtors’ preferred tax structure upon which I offer no opinion one way or the other, there can be

no question that it raises actual internal conflicts among the debtors’ estates.” Hrg. Tr. Nov. 3,

2014, at 13:25-14:3 [D.I. 2699.] The Court also ruled that, based on these conflicts, the requisite

vote on bidding procedures must be by the independent directors of the EFH, EFCH, TCEH, and

EFIH. See id. at 18:16-19.




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       8.      On November 7, 2014, the boards of managers of EFCH and TCEH adopted the

Resolutions determining that Hugh E. Sawyer is a disinterested manager of each of EFCH and

TCEH, and delegating to the TCEH Debtors’ Disinterested Manager the authority to engage

independent advisors as he deemed necessary to represent and advise the TCEH Debtors on

Conflict Matters (including determining whether any matter constitutes a Conflict Matter).

       9.      Consistent with this delegated authority, the TCEH Debtors’ Disinterested

Manager determined that, in addition to the advice of independent legal counsel, the TCEH

Debtors require advice on Conflict Matters from an independent financial advisor. Accordingly,

on November 17, 2014, after interviewing several potential candidates, the TCEH Debtors’

Disinterested Manager selected Greenhill to serve in this capacity. Over the next several weeks,

the TCEH Debtors’ Disinterested Manager and TCEH executives engaged in significant

discussions and arm’s-length negotiations with Greenhill over the terms of Greenhill’s retention.

While these discussions and negotiations were ongoing, Greenhill, with the approval of the

TCEH Debtors’ Disinterested Manager, commenced its work and began to address some of the

more pressing and time-sensitive issues facing the TCEH Debtors.

       10.     On December 9, 2014, the boards of managers of EFCH and TCEH each adopted

supplemental resolutions that ratified the TCEH Debtors’ Disinterested Manager’s previous

selection of independent advisors, including Greenhill, and further delegated to the TCEH

Debtors’ Disinterested Manager the authority to investigate and determine whether any matter

constitutes a Conflict Matter, and to make and implement all decisions and bind the TCEH

Debtors and their subsidiaries in connection therewith, with the advice of independent advisors

or others with whom he determines to consult.




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       11.     On December 15, 2014, the TCEH Debtors finalized the terms of Greenhill’s

engagement, as set forth in the Greenhill Engagement Letter. This Application promptly

followed.

                                   Greenhill’s Qualifications

       12.     The TCEH Debtors’ Disinterested Manager selected, and the TCEH Debtors seek

to retain, Greenhill as their independent financial advisor because of, among other things,

Greenhill’s extensive experience in, and reputation for, providing high-quality financial advisory

services to debtors in bankruptcy reorganizations and other restructurings.

       13.     Established in 1996, Greenhill is a leading independent investment bank and has

provided financial advisory services to numerous major corporate entities and investors

worldwide. Greenhill is registered as a broker-dealer with the Securities and Exchange

Commission and a member of the Financial Industry Regulatory Authority.

       14.     Greenhill was selected by the TCEH Debtors’ Disinterested Manager based on its

experience and expertise in providing financial advisory services in chapter 11 cases and debt

restructurings. Greenhill’s restructuring professionals have extensive experience in advising

debtors and other constituents in chapter 11 cases and have served as financial advisors to

numerous debtors and creditors in restructurings including, among others, American Roads LLC;

AMR Corporation; Hawker Beechcraft, Inc.; General Growth Properties, Inc.; Lyondell

Chemical Company; Chrysler, LLC; BearingPoint, Inc.; Constar International Inc.; Delphi Corp.;

Refco Inc.; Bethlehem Steel Corp.; Eclipse Aviation Corp.; and U.S. Shipping Partners L.P.

       15.     The resources, capabilities, and experience of Greenhill in advising the TCEH

Debtors at the direction of the TCEH Debtors’ Disinterested Manager are crucial to the

successful restructuring of the TCEH Debtors in light of the Conflict Matters the Court has

already indentified, others yet to be identified and given the size and complexity of these chapter


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11 cases. On account of the Conflict Matters, the retention of an experienced financial advisor

such as Greenhill fulfills a critical need that complements the services offered by the Debtors’

other restructuring professionals who may be restricted from working on such matters. Broadly

speaking, Greenhill will assist in the evaluation of various strategic alternatives and render

financial advice to the TCEH Debtors’ Disinterested Manager on Conflict Matters in connection

with their ongoing restructuring efforts.

       16.     In addition, since November 17, 2014, Greenhill has provided extensive services

to the TCEH Debtors’ Disinterested Manager and worked closely with both the TCEH Debtors’

Disinterested Manager and his counsel. As a result, Greenhill has become familiar with the

TCEH Debtors and their business, including the TCEH Debtors’ financial affairs, debt structure,

operations, and related matters. Having worked with the TCEH Debtors’ Disinterested Manager

and the TCEH Debtors’ other advisors, Greenhill has developed relevant experience and

knowledge regarding the TCEH Debtors that will assist it in providing effective and efficient

services in these chapter 11 cases.

       17.     For the foregoing reasons, the TCEH Debtors believe Greenhill is well qualified

to provide the TCEH Debtors with financial advisory services concerning Conflict Matters in a

timely, efficient and cost-effective manner.

                                      Services To Be Provided

       18.     Pursuant to the Greenhill Engagement Letter, in consideration of the

compensation contemplated thereby, Greenhill has provided and has agreed to provide financial

advisory services to the TCEH Debtors in connection with Conflict Matters, including the

determination of whether any matter constitutes a Conflict Matter. Given the large number of

Debtors and their varying interests and creditor constituencies, the Court has recognized that

significant conflicts may exist between the various Debtors. Because of such actual or perceived


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conflicts, it is necessary for the TCEH Debtors’ Disinterested Manager to retain an independent

financial advisor. In carrying out its retention, Greenhill will report to and take direction solely

from the TCEH Debtors’ Disinterested Manager.

       19.     The terms and the conditions of the Greenhill Engagement Letter were the result

of significant discussions and arm’s-length negotiations between Greenhill and the TCEH

Debtors, and they reflect the parties’ mutual agreement as to the substantial efforts that will be

required in this engagement. Subject to further order of the Court and consistent with the

Greenhill Engagement Letter, the services described above and enumerated below with respect

to Conflict Matters (collectively, the “Services”), will include the following:3

               (a)     General Financial Advisor Services. Greenhill shall, in case if reasonably
                       requested by the TCEH Debtors’ Disinterested Manager:

                       i.      review and analyze the business, operations, and financial
                               projections of the TCEH Debtors;

                       ii.     evaluate the TCEH Debtors’ potential debt capacity in light of its
                               projected cash flows;

                       iii.    assist in the determination of a capital structure for the TCEH
                               Debtors;

                       iv.     assist in the determination of a range of values for the TCEH
                               Debtors on a going concern basis;

                       v.      advise and attend meetings of the TCEH Debtors’ boards of
                               managers and their committees with respect to matters on which
                               Greenhill has been engaged;

                       vi.     provide such other financial advisory and investment banking
                               services as are customary for similar transactions and as may be


3
 The summaries of the Greenhill Engagement Letter contained in this Application are provided
for purposes of convenience only. In the event of any inconsistency, the terms of the Greenhill
Engagement Letter shall control, provided that, consistent with the authority delegated to the
Disinterested Manager pursuant to the Resolutions, it is implicit in the Engagement Letter and
understood by the parties that Greenhill’s mandate is to perform the Services (as defined herein)
with respect to Conflict Matters, as described herein and as set forth in the Order.


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                              mutually agreed upon by the TCEH Debtors’ Disinterested
                              Manager and Greenhill;

               (b)    Restructuring Services. If the TCEH Debtors determine to pursue a
                      Restructuring (as defined in the Greenhill Engagement Letter), Greenhill
                      shall, in each case if reasonably requested by the TCEH Debtors’
                      Disinterested Manager and at the direction of the TCEH Debtors’
                      Disinterested Manager:

                      i.      advise and assist the TCEH Debtors at the direction of the TCEH
                              Debtors’ Disinterested Manager in structuring and effecting the
                              financial aspects of such a Restructuring, subject to the terms and
                              conditions of the Greenhill Engagement Letter;

                      ii.     provide financial advice and assistance to the TCEH Debtors at the
                              direction of the Disinterested Manager in developing and seeking
                              approval of a Restructuring plan (as the same may be modified
                              from time to time, a “Plan”) under chapter 11 of the Bankruptcy
                              Code;
                      iii.    in connection therewith, provide financial advice and assistance to
                              the TCEH Debtors at the direction of the TCEH Debtors’
                              Disinterested Manager in structuring any new securities, other
                              consideration or other inducements to be offered and/or issued
                              under the Plan;

                      iv.     assist the TCEH Debtors at the direction of the TCEH Debtors’
                              Disinterested Manager and/or participate in negotiations with
                              entities or groups affected by the Plan;

                      v.      provide testimony, as necessary, with respect to matters on which
                              Greenhill has been engaged to advise the TCEH Debtors at the
                              direction of the TCEH Debtors’ Disinterested Manager in the
                              Bankruptcy Proceeding; and

                      vi.     assist the TCEH Debtors at the direction of the TCEH Debtors’
                              Disinterested Manager in preparing and/or reviewing
                              documentation within Greenhill’s area of expertise required in
                              connection with the Plan.

       20.     As noted above, Greenhill will provide these Services in connection with advising

the TCEH Debtors on Conflict Matters and in carrying out its retention, Greenhill will report to

and take direction from the TCEH Debtors’ Disinterested Manager.




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       21.     The TCEH Debtors did not engage Greenhill to duplicate the services of the

Debtors’ other financial professionals, including Evercore, which will continue to serve as the

Debtors’ primary investment banker and financial advisor in these chapter 11 cases. However,

Evercore cannot advise the TCEH Debtors on Conflict Matters. Greenhill shall use its

reasonable efforts to avoid unnecessary duplication of services provided by any of the Debtors’

other retained professionals in these chapter 11 cases.

                                   Professional Compensation

       22.     Greenhill is not owed any amounts with respect to pre-petition fees and expenses

in connection with its proposed engagement by the TCEH Debtors or otherwise in connection

with these chapter 11 cases.

       23.     The TCEH Debtors understand that Greenhill intends to apply for compensation

for professional services rendered and reimbursement of expenses incurred in connection with

these chapter 11 cases in compliance with applicable provisions of the Bankruptcy Code,

Bankruptcy Rules, Local Bankruptcy Rules, the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Professionals [D.I. 2066], any case-specific

fee protocols approved by the Court after notice and a hearing pursuant to paragraph C.5 of the

Stipulation and Order Appointing a Fee Committee [D.I. 1896] (the “Fee Committee Order”),

and any other applicable procedures and orders of the Court. Greenhill has agreed to be bound

by the terms of the Fee Committee Order. Greenhill also intends to make a reasonable effort to

comply with the U.S. Trustee’s requests for information and additional disclosures as set forth in

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1,

2013 (the “Revised UST Guidelines”) , both in connection with the Application and the interim

and final fee applications to be filed by Greenhill in these chapter 11 cases. As more fully


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described below, Greenhill’s proposed compensation was the result of substantial discussions

and arm’s-length negotiations with the TCEH Debtors.

       24.     In consideration of the Services, and as fully described in the Greenhill

Engagement Letter, the TCEH Debtors have agreed, subject to the Court’s approval, to pay

Greenhill the proposed compensation set forth in the Greenhill Engagement Letter (the “Fee and

Expense Structure”). The Fee and Expense Structure is summarized as follows:4

               (a)    Monthly Advisory Fee: $250,000 per month until termination of
                      Greenhill’s engagement.

               (b)    Transaction Fee: Upon consummation of any Restructuring, Greenhill
                      will be entitled to receive a transaction fee (the “Transaction Fee”),
                      payable promptly at the closing thereof, equal to $9,500,000.

               (c)    Credit of Fee: An amount equal to 50% of any Monthly Advisory Fees
                      that arise after the 9th month of the term of the Greenhill Engagement
                      Letter, to the extent paid, shall be creditable against the Transaction Fee.

               (d)    Expenses: The TCEH Debtors will pay reasonable and documented out-
                      of-pocket expenses (including all fees and expenses of counsel).
                      Notwithstanding anything to the contrary in the Application or the
                      Greenhill Engagement Letter, Greenhill will not seek reimbursement of
                      expenses for office supplies.

       25.     Greenhill’s strategic and financial expertise as well as its capital markets

knowledge, financial advisory skills, restructuring capabilities, and mergers and acquisitions

expertise, some or all of which may be required by the TCEH Debtors during the term of

Greenhill’s engagement hereunder, were important factors in determining the Fee and Expense

Structure, and the ultimate benefit to the TCEH Debtors of Greenhill’s Services hereunder




4
  This summary is presented for convenience purposes only and is not an exhaustive reflection of
the fee and expense terms set forth in the Greenhill Engagement Letter, which are controlling in
all respects, except where otherwise specified in the Order. Capitalized terms used but not
otherwise defined herein have the meanings ascribed to such terms in the Greenhill Engagement
Letter.


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cannot be measured by reference to the number of hours to be expended by Greenhill’s

professionals in the performance of such Services.

       26.     The TCEH Debtors submit that Greenhill has obtained valuable institutional

knowledge of the TCEH Debtors’ businesses and financial affairs as a result of providing

Services to the TCEH Debtors’ Disinterested Manager since November 17, 2014 and that

Greenhill is both well qualified and uniquely able to perform these Services and assist the TCEH

Debtors in these chapter 11 cases. Moreover, due to the critical importance of addressing

Conflict Matters in these cases, the TCEH Debtors believe that Greenhill’s Services will be

critical in assisting the TCEH Debtors in a successful outcome of these chapter 11 cases.

       27.     The TCEH Debtors believe that the Fee and Expense Structure is consistent with

and typical of those arrangements generally charged by financial advisors of similar stature to

Greenhill for engagements of comparable complexity, scope, and risk, both in and out of

bankruptcy proceedings, and reflects an appropriate balance between a fixed, monthly fee and a

deferred amount. The Fee and Expense Structure is also consistent with Greenhill’s normal and

customary billing practices for comparably sized and complex cases and transactions, both in and

out of court, involving services comparable to those to be provided in connection with these

chapter 11 cases. Greenhill and the TCEH Debtors accordingly believe that the Fee and Expense

Structure is both reasonable and market based.

       28.     In addition, the Fee and Expense Structure has been agreed upon by the parties on

an arm’s-length basis in anticipation that (a) a substantial commitment of professional time and

effort will be required of Greenhill and its professionals hereunder; (b) such commitment may

foreclose other opportunities for Greenhill; and (c) the actual time and commitment required of




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Greenhill and its professionals to perform the Services hereunder may vary substantially from

week to week and month to month, creating “peak load” issues for Greenhill.

       29.     For these reasons, the TCEH Debtors believe that the Court should approve

Greenhill’s retention subject to the standard of review set forth in § 328(a) of the Bankruptcy

Code and that Greenhill’s compensation should not be subject to any additional standard of

review under § 330 of the Bankruptcy Code, except as provided for in the Order. No agreement

or understanding exists between Greenhill and any other person, other than as permitted by § 504

of the Bankruptcy Code, to share compensation received for services rendered in connection with

these chapter 11 cases, nor shall Greenhill share or agree to share compensation received for

services rendered in connection with these chapter 11 cases with any other person or other than

as permitted by § 504 of the Bankruptcy Code.

                     Record Keeping and Applications for Compensation

       30.     It is not the general practice of financial advisory and investment banking firms,

including Greenhill, to keep detailed time records similar to those customarily kept by attorneys

and required by Local Rule 2016-2(d). Because Greenhill does not ordinarily maintain

contemporaneous time records in tenth-hour (.10) increments or provide or conform to a

schedule of hourly rates for its professionals, pursuant to Local Rule 2016-2(h), Greenhill should

be excused from compliance with such information requirements set forth in Local Rule 2016-

2(d) and from compliance with an Interim Compensation Order with respect to Greenhill’s

professional fees only. Greenhill should be required to maintain time records in half-hour (0.50)

increments, not decimal hours, setting forth, in a summary format, a description of the services

rendered by each professional and the amount of time spent on each date by each such individual

in rendering services on behalf of the TCEH Debtors.




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       31.      Greenhill will also maintain detailed records of any actual and necessary costs and

expenses incurred in connection with the Services. Greenhill’s applications for compensation

and expenses will be paid by the Debtors pursuant to the terms of the Greenhill Engagement

Letter, in accordance with Local Rule 2016-2(e) and any procedures established by the Court,

pursuant to an Interim Compensation Order or otherwise.

                                   Indemnification Provisions

       32.      The Greenhill Engagement Letter contains standard indemnification language

with respect to Greenhill’s services. The TCEH Debtors and Greenhill believe that the

indemnification provisions contained in the Greenhill Engagement Letter are customary and

reasonable.

       33.      Moreover, the TCEH Debtors and Greenhill negotiated the terms and conditions

of the indemnification provisions at arm’s length and in good faith. The provisions contained in

the Greenhill Engagement Letter, viewed in conjunction with the other terms of Greenhill

proposed retention, are reasonable and in the best interest of the TCEH Debtors, their estates, and

creditors in light of the fact that the TCEH Debtors require Greenhill’s services to successfully

reorganize. Accordingly, the TCEH Debtors request that the Court approve the indemnification

provisions as set forth in the Greenhill Engagement Letter.

                                  Greenhill’s Disinterestedness

       34.      The TCEH Debtors provided to Greenhill a list of potential parties-in-interest

with respect to all of the Debtors’ cases, which includes the Debtors and their significant

creditors, equity interest holders, other known potential parties-in-interest in these chapter 11

cases, and the Debtors’ professionals that are known to be assisting the Debtors in these chapter

11 cases (collectively, the “Potential Parties-in-Interest”).




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       35.     The list of Potential Parties-in-Interest includes more than 20,000 entries. Due to

the large number of Potential Parties-in-Interest, Greenhill has not yet completed its investigation

of Potential Parties-in-Interest for purposes of compliance with Bankruptcy Rule 2014.

However, as set forth in the Robins Declaration, based on its investigation to date, Greenhill does

not believe that it has any disabling conflicts of interest. Moreover, Mr. Robins intends to file

with the Court, prior to the hearing on this Application, the Supplemental Robins Declaration,

which will further describe the scope and results of Greenhill’s complete conflict check.

       36.     Based on the foregoing, the TCEH Debtors believe that, subject to the completion

of conflict checks and other than as set forth in the Robins Declaration and the Supplemental

Robins Declaration, (a) Greenhill is a “disinterested person” within the meaning of § 101(14) of

the Bankruptcy Code, as required by § 327(a) of the Bankruptcy Code and does not hold or

represent an interest materially adverse to the Debtors’ estates; and (b) Greenhill has no

connection to the Debtors, their creditors, equity security holders or other Potential Parties-in-

Interest in these Chapter 11 cases.

       37.     To the extent that any new relevant facts or relationships bearing on the matters

described herein are discovered or arise following the submission of the Robins Supplemental

Declaration and during the period of Greenhill’s retention, Greenhill will use reasonable efforts

to promptly file an additional supplemental declaration, as required by Bankruptcy Rule 2014(a).

                                          Basis for Relief

       38.     The TCEH Debtors seek authority to employ and retain Greenhill as their

financial advisor under § 327 of the Bankruptcy Code, which provides that a debtor is authorized

to employ professional persons “that do not hold or represent an interest adverse to the estate,




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and that are disinterested persons, to represent or assist the [Debtors] in carrying out their duties

under this title.” 11 U.S.C. § 327(a).

       39.     The TCEH Debtors also seek approval of the Greenhill Engagement Letter

(including, without limitation, the Fee and Expense Structure and the indemnification provisions

included therein) pursuant to § 328(a) of the Bankruptcy Code, which provides, in relevant part,

that debtors “with the court’s approval, may employ or authorize the employment of a

professional person under section 327. . . on any reasonable terms and conditions of

employment, including on a retainer, on an hourly basis, on a fixed or percentage fee basis, or on

a contingent fee basis…” 11 U.S.C. § 328(a). Section 328 of the Bankruptcy Code permits the

compensation of professionals, including financial advisors, on more flexible terms that reflect

the nature of their services and market conditions. Owing to this inherent uncertainty, courts

have approved similar arrangements that contain reasonable terms and conditions under § 328 of

the Bankruptcy Code. See, e.g., In re U.S. Airways, Inc., No. 02-83984 (SJM) (Bankr. E.D. Va.

Aug. 12, 2002); see also In re J.L. French Auto. Castings, Inc., No. 06-10119 (MFW) (Bankr. D.

Del. March 24, 2006).

       40.     Furthermore, the Bankruptcy Abuse Prevention and Consumer Protection Act of

2005 amended § 328(a) of the Bankruptcy Code, which now provides as follows:

       The trustee, or a committee appointed under section 1102 of this title, with the court’s
       approval, may employ or authorize the employment of a professional person under
       section 327 or 1103 of this title, as the case may be, on any reasonable terms and
       conditions of employment, including on a retainer, on an hourly basis, on a fixed or
       percentage fee basis, or on a contingent fee basis.

11 U.S.C. § 328(a) (amendment emphasized). This change makes clear that the TCEH Debtors

are able to retain a professional on a fixed or percentage fee basis, such as the Fee and Expense

Structure, with bankruptcy court approval.




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       41.     The Greenhill Engagement Letter appropriately reflects (a) the nature and scope

of services to be provided by Greenhill, (b) Greenhill’s substantial experience with respect to

financial advisory services and (c) the fee structures typically utilized by Greenhill and other

leading financial advisors that do not bill their clients on an hourly basis.

       42.     Similar monthly and deferred fee arrangements have been approved and

implemented by courts in other large chapter 11 cases. See, e.g., In re Broadview Networks

Holdings, Inc., No. 12-13581 (Bankr. S.D.N.Y. Sept. 14, 2012); In re Circus and Eldorado Joint

Venture, No. 12-51156 (Bankr. D. Nev. July 6, 2012); In re Delta Petroleum Corp., No. 11-

14006 (Bankr. D. Del. Dec. 16, 2011); In re Trico Marine Services, Inc., No. 10-12653 (Bankr.

D. Del. Aug. 5, 2010); In re CIT Group Inc., No. 09-16565 (Bankr. S.D.N.Y. Nov. 1, 2009); In

re General Motors Corp., No. 09-50026 (Bankr. S.D.N.Y. June 1, 2009); In re Lyondell Chem.

Co., No. 09-10023 (Bankr. S.D.N.Y. Jan. 6, 2009).

       43.     Moreover, Bankruptcy Rule 2014 requires that an application for retention

include:

       [S]pecific facts showing the necessity for the employment, the name of the [firm] to be
       employed, the reasons for the selection, the professional services to be rendered, any
       proposed arrangement for compensation, and, to the best of the applicant’s knowledge,
       all of the [firm’s] connections with the debtor, creditors, any other party in interest, their
       respective attorneys and accountants, the United States Trustee, or any person employed
       in the office of the United States Trustee.

       Fed. R. Bankr. P. 2014.

       44.     The TCEH Debtors and Greenhill respectfully submit that the terms of

Greenhill’s retention, including the indemnification provisions contained therein, were

negotiated at arm’s-length and in good faith, are customary and reasonable for financial advisory

engagements, both out-of-court and in comparable chapter 11 cases, and in the best interests of

the TCEH Debtors’ estates, creditors, and all Parties-In-Interest.



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       45.     Moreover, the scope of Greenhill’s Services is limited to providing financial

advice to the TCEH Debtors only in connection with Conflict Matters, including the

determination of whether any matter constitutes a Conflict Matter. As Evercore cannot advise

the TCEH Debtors on Conflict Matters, the TCEH Debtors’ Disinterested Manager requires

access to independent advice. To that end, in carrying out its retention, Greenhill will report to

and take direction solely from the TCEH Debtors’ Disinterested Manager.

       46.     Accordingly, the TCEH Debtors believe that Greenhill’s retention on the terms

and conditions proposed herein is appropriate

                                              Notice

       47.     The TCEH Debtors shall provide notice of this Application on the date hereof via

U.S. first class mail to: (a) the U.S. Trustee; (b) counsel to the TCEH Creditors’ Committee; (c)

counsel to the EFH Creditors’ Committee; (d) Wilmington Trust, N.A., in its capacity as

administrative agent under the TCEH first lien credit agreement and collateral agent under the

TCEH intercreditor agreements and counsel thereto; (e) Bank of New York Mellon Trust

Company, N.A., in its capacity as indenture trustee under: (i) the TCEH unsecured pollution

control revenue bonds; and (ii) the EFCH 2037 Notes due 2037, and counsel thereto; (f)

American Stock Transfer & Trust Company, LLC, in its capacity as indenture trustee under: (i)

the 9.75% EFH senior unsecured notes due 2019; (ii) the 10.0% EFH senior unsecured notes due

2020; (iii) the 10.875% EFH LBO senior unsecured notes due 2017; (iv) the 11.25%/12.0% EFH

LBO toggle notes due 2017; (v) the 5.55% EFH legacy notes (series P) due 2014; (vi) the 6.50%

EFH legacy notes (series Q) due 2024; and (vii) the 6.55% EFH legacy notes (series R) due

2034, and counsel thereto; (g) Computershare Trust Company, N.A. and Computershare Trust

Company of Canada, in their capacities as indenture trustee under: (i) the 11.0% EFIH senior




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secured second lien notes due 2021; and (ii) the 11.75% EFIH senior secured second lien notes

due 2022, and counsel thereto; (h) UMB Bank, N.A. in its capacity as indenture trustee under: (i)

the 9.75% EFIH senior unsecured notes due 2019; and (ii) the 11.25%/12.25% EFIH senior

toggle notes due 2018, and counsel thereto; (i) Delaware Trust Company of Delaware in its

capacity as indenture trustee under: (i) the 6.875% EFIH senior secured notes due 2017; (ii) the

10.0% EFIH senior secured notes due 2020; and (iii), the 11.50% TCEH senior secured notes

due 2020, and counsel thereto; (j) Law Debenture Trust Company of New York in its capacity as

indenture trustee under: (i) the 10.25% TCEH senior unsecured notes due 2015; and (ii) the

10.50%/11.25% TCEH senior toggle notes due 2016, and counsel thereto; (k) Wilmington

Savings Fund Society, FSB in its capacity as indenture trustee under the 15.0% TCEH senior

secured second lien notes due 2021, and counsel thereto; (l) counsel to certain holders of claims

against the Debtors regarding each of the foregoing described in clauses (c) through (j); (m) the

agent for the TCEH debtor-in-possession financing facility and counsel thereto; (n) the agent for

the EFIH debtor-in-possession financing facility and counsel thereto; (o) counsel to certain

holders of equity in Texas Energy Future Holdings Limited Partnership (p) counsel to the Ad

Hoc Committee of TCEH Unsecured Noteholders; (q) counsel to the Ad Hoc Committee of

TCEH Second Lien Noteholders; (r) Oncor Electric Delivery Holdings Company LLC and

counsel thereto; (s) Oncor Electric Delivery Company LLC and counsel thereto; (t) the Securities

and Exchange Commission; (u) the Internal Revenue Service; (v) the Office of the United States

Attorney for the District of Delaware; (w) the Office of the Texas Attorney General on behalf of

the Public Utility Commission of Texas; (x) counsel to the Electric Reliability Council of Texas;

(y) those parties that have requested notice pursuant to Bankruptcy Rule 2002; and (z) the




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Taxing Authorities. The TCEH Debtors submit that, in light of the nature of the relief requested,

no other or further notice need be given.

                                        No Prior Request

       48.     No prior request for the relief sought in this Application has been made to this or

any other court.

                      [Remainder of page intentionally left blank.]




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       WHEREFORE, the TCEH Debtors respectfully request that the Court enter the Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

granting such other and further relief as is appropriate under the circumstances.

Wilmington, Delaware

Dated: December 17, 2014
                                             /s/ Hugh E. Sawyer
                                             Hugh E. Sawyer
                                             Authorized Manager of ECFH and TCEH




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